
54 N.J. 515 (1969)
257 A.2d 113
NATIONAL PREMIUM BUDGET PLAN CORP., PLAINTIFF-PETITIONER,
v.
NATIONAL FIRE INSURANCE COMPANY OF HARTFORD, ET AL., DEFENDANTS-RESPONDENTS, AND LOUIS J. MARTONE, DEFENDANT.
The Supreme Court of New Jersey.
September 30, 1969.
Messrs. Mattson, Madden, Polito &amp; Loprete for the petitioner.
Messrs. King &amp; King and Messrs. Budd, Larner, Kent, Gross &amp; Picillo for the respondents.
Denied.
